Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 1 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 2 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 3 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 4 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 5 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 6 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 7 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 8 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 9 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 10 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 11 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 12 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 13 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 14 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 15 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 16 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 17 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 18 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 19 of 20
Case 18-05122-jrs   Doc 1   Filed 06/08/18 Entered 06/08/18 12:41:26   Desc Main
                            Document      Page 20 of 20
